Case 2:14-cv-04020-AKT Document 173 Filed 06/19/19 Page 1 of 2 PageID #: 2054




                                                                              June 19, 2019
VIA ECF
Honorable A. Kathleen Tomlinson
United States Magistrate Judge
United States District Court
Eastern District of New York
100 Federal Plaza
Central Islip, NY 11722

           Re:       Ajay Bahl v. New York College of Osteopathic Medicine of New York Institute of
                     Technology, et al., 14-CV-04020 (AKT)

Dear Judge Tomlinson:

        This firm represents New York Institute of Technology (“NYIT”), improperly named
herein as New York College of Osteopathic Medicine of New York Institute of Technology, in
the above-referenced action. Pursuant to Your Honor’s Order, please accept this letter setting
forth NYIT’s proposed grounds for summary judgment.

       Plaintiff Ajay Bahl (“Plaintiff”) is a former medical student at NYIT’s College of
Osteopathic Medicine (“NYITCOM”). With respect to Plaintiff’s claims against NYIT,1 in
summary, Plaintiff alleges that NYIT discriminated and/or retaliated against him because of his
alleged disabilities when he was dismissed from NYITCOM after he failed to timely pass the
COMLEX-II exams, a graduation requirement set forth by the National Board of Osteopathic
Medical Examiners (“NBOME”), NYITCOM’s accrediting agency. Plaintiff also alleges that
NYIT failed to accommodate his alleged disabilities when it failed to grant his request for a
continued leave of absence in order to permit Plaintiff time to seek a testing accommodation
from NBOME, the administrator of the COMLEX-II exams, and then take the exams.

        NYIT intends to move for summary judgment as to all of Plaintiff’s surviving claims
against NYIT.2 First, Plaintiff cannot establish that NYIT discriminated and/or retaliated against
him based on his alleged disabilities and/or failed to accommodate his alleged disabilities in
violation of the Rehabilitation Act or Title III of the ADA3 (Counts 2, 3, 4, 5 and 9). After
Plaintiff failed to pass the COMLEX-II exams prior to graduation, NYITCOM provided Plaintiff
with the accommodation of an approximately 250-day leave of absence to take the exams. When
Plaintiff did not pass the COMLEX-II exams prior to expiration of this leave, in response to
Plaintiff’s request, NYITCOM offered to Plaintiff an additional 4-month leave of absence

1
    Plaintiff claims against the other defendants Plainview Hospital and NBOME have been voluntarily dismissed.
2
    NYIT does not specifically address all of Plaintiff’s claims in this letter.
3
 Plaintiff’s claims under Title III of the ADA (Counts 2, 3 and 9) also are “injuries without a remedy,” as money
damages are not recoverable under the ADA, and Plaintiff has not sought any specific injunctive relief.
Case 2:14-cv-04020-AKT Document 173 Filed 06/19/19 Page 2 of 2 PageID #: 2055
C L IF TO N B U DD & D E M A RI A ,   LLP
Honorable A. Kathleen Tomlinson
June 19, 2019
Page 2

provided that NBOME granted Plaintiff a testing accommodation and that Plaintiff received
passing scores by January 31, 2014. Plaintiff never responded to NYITCOM’s offer.

         As to Plaintiff’s hostile educational environment claims and his claims under the New
York State and City Human Rights Laws (Count 6, 19 and 20), Plaintiff has failed to raise a
triable issue as to whether any of the complained of conduct was motivated by disability-based
or retaliatory animus, even in part, which is fatal to each of these claims. In addition, Plaintiff
has also failed to show that any challenged conduct was sufficiently severe as to effectively have
deprived him of access to school resources, a prima facie requirement of a hostile educational
environment claim.

        NYIT is also entitled to judgment as to Plaintiff’s claim under 42 U.S.C. § 1983 (Count
10), as NYIT is a private entity and not a state actor. Moreover, NYIT does not issue or have the
authority to issue licenses for the practice of medicine, and therefore could not have acted “under
the color of law” sufficient to state such a claim.

        Also technically deficient are Plaintiff’s claims for breach of contract, unjust enrichment,
negligent misrepresentation and negligent infliction of emotional distress (Counts 12, 13, 14 and
15). Pursuant to New York law, a student’s claims concerning the propriety of his dismissal
from a university based on academic reasons—even if couched in terms of breach of contract,
quasi-contract and/or tort—must be commenced as a proceeding under Article 78 of the CPLR.
Plaintiff failed to timely file such a proceeding and his claims are now time-barred. Finally, as to
his claim under NY Gen. Bus. Law § 349 (Count 16), Plaintiff has not alleged what material
representations, if any, were made by NYIT that were materially misleading, a fatal defect.

                                                     Respectfully submitted,

                                                     CLIFTON BUDD & DeMARIA, LLP
                                                     Attorneys for NYIT

                                                     ________________________________
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cc: VIA ECF
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